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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION                                                            ENTERED
                                                                                                              07/06/2021
                                                             )
In re:                                                       )
                                                             ) Chapter 11
NEIMAN MARCUS GROUP LTD LLC, et al., 1                       )
                                                             ) Case No. 20-32519 (DRJ)
                 Reorganized Debtors.                        )
                                                             ) (Jointly Administered)
                                                             )

                    ORDER SUSTAINING LIQUIDATING TRUSTEE’S
              SEVENTH OMNIBUS OBJECTION TO CLAIMS (WAIVED CLAIMS)

                                         [Related Docket No. 2414]

         Upon the Objection2 of the Liquidating Trustee seeking entry of an order (this “Order”)

disallowing and expunging the claims identified on Schedule 1 attached hereto, it is HEREBY

ORDERED THAT:

         1.      The Objection is sustained as set forth herein.

         2.      Each claim identified on Schedule 1 to this Order is disallowed in its entirety.

         3.      Bankruptcy Management Solutions, Inc. d/b/a Stretto (“Stretto”) is authorized and

directed to update the claims register maintained in these chapter 11 cases to reflect the relief

granted in this Order.

1
    The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
    federal tax identification number, are: Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman Inc.
    (5530); Bergdorf Graphics, Inc. (9271); BG Productions, Inc. (3650); Mariposa Borrower, Inc. (9015);
    Mariposa Intermediate Holdings LLC (5829); NEMA Beverage Corporation (3412); NEMA Beverage Holding
    Corporation (9264); NEMA Beverage Parent Corporation (9262); NM Bermuda, LLC (2943); NM Financial
    Services, Inc. (2446); NM Nevada Trust (3700); NMG California Salon LLC (9242); NMG Florida Salon LLC
    (9269); NMG Global Mobility, Inc. (0664); NMG Notes PropCo LLC (1102); NMG Salon Holdings LLC
    (5236); NMG Salons LLC (1570); NMG Term Loan PropCo LLC (0786); NMG Texas Salon LLC (0318);
    NMGP, LLC (1558); The Neiman Marcus Group LLC (9509); The NMG Subsidiary LLC (6074); and Worth
    Avenue Leasing Company (5996). The Reorganized Debtors’ service address is: One Marcus Square, 1618
    Main Street, Dallas, Texas 75201.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Liquidating
    Trustee’s Seventh Omnibus Objection to Claims (Waived Claims).


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        4.      Each claim and the objections by the Liquidating Trustee to each claim identified

in Schedule 1 constitutes a separate contested matter as contemplated by Bankruptcy Rule 9014.

This Order will be deemed a separate order with respect to each claim identified on Schedule 1.

        5.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

prepetition claim against a Debtor entity or such Debtor entity’s estate; (b) a waiver of any

party’s right to dispute any prepetition claim on any grounds; (c) a promise or requirement to pay

any prepetition claim; (d) an implication or admission that any particular claim is of a type

specified or defined in this Objection or any order granting the relief requested by this Objection;

(e) a request or authorization to assume any prepetition agreement, contract, or lease pursuant to

section 365 of the Bankruptcy Code; or (f) a waiver of the Liquidating Trustee’s rights under the

Bankruptcy Code or any other applicable law.

        6.      The terms and conditions of this Order will be immediately effective and

enforceable upon its entry.

        7.      The Liquidating Trustee, Stretto, and the Clerk of the Court are authorized to take

all actions necessary to effectuate the relief granted pursuant to this Order in accordance with the

Objection.

        8.      This Court shall retain exclusive jurisdiction to resolve any dispute arising from

or related to this Order.

Houston,                                  Texas
   Signed: July 01, 2021.
Date:                                  , 2021
                                                  ____________________________________
                                                    THE HONORABLE DAVID R. JONES
                                                  DAVID R. UNITED
                                                    CHIEF  JONES STATES BANKRUPTCY
                                                  UNITED STATES BANKRUPTCY JUDGE
                                                    JUDGE




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                         Schedule 1

                 Sustained Claim Objections
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                                                                  Schedule 1

Ref     Name of                                                                                                               Reasoning for
                      Debtor Name      Claim #   Date Filed            Claim Amounts                       Allowed Claim
 #      Claimant                                                                                                               Objection1
                                                              Administrative: $0.00              Administrative: $0.00
                                                              Secured: $0.00                     Secured: $0.00             Expunge general
                      The Neiman                              Priority: $0.00                    Priority: $0.00            unsecured claim
      TEREZ
 1                    Marcus Group    1187       6/10/2020    General Unsecured: $142,237.52     General Unsecured: $0.00   amount as general
      UNIVERSE LLC
                      LLC                                                                                                   unsecured claim has
                                                              Total: $142,237.52                 Total: $0.00               been resolved.

                                                              Administrative: $0.00              Administrative: $0.00
                                                              Secured: $0.00                     Secured: $0.00             Expunge general
                                                              Priority: $0.00                    Priority: $0.00            unsecured claim
      VEJA FAIR       Neiman Marcus
 2                                    2812       9/7/2020     General Unsecured: $29,985.20      General Unsecured: $0.00   amount as general
      TRADE           Group LTD LLC
                                                                                                                            unsecured claim has
                                                              Total: $29,985.20                  Total: $0.00               been resolved.

                                                              Administrative: $0.00              Administrative: $0.00
                                                              Secured: $0.00                     Secured: $0.00             Expunge general
                                                              Priority: $0.00                    Priority: $0.00            unsecured claim
      VEJA FAIR       Bergdorf
 3                                    2813       9/7/2020     General Unsecured: $18,577.50      General Unsecured: $0.00   amount as general
      TRADE           Goodman Inc.
                                                                                                                            unsecured claim has
                                                              Total: $18,577.50                  Total: $0.00               been resolved.

                                                              Administrative: $0.00              Administrative: $0.00
                                                              Secured: $0.00                     Secured: $0.00             Expunge general
                                                              Priority: $0.00                    Priority: $0.00            unsecured claim
      VERONICA        Neiman Marcus
 4                                    2567       7/30/2020    General Unsecured: $2,831,708.00   General Unsecured: $0.00   amount as general
      BEARD           Group LTD LLC
                                                                                                                            unsecured claim has
                                                              Total: $2,831,708.00               Total: $0.00               been resolved.

                                                              Administrative: $0.00              Administrative: $0.00
                                                              Secured: $0.00                     Secured: $0.00             Expunge general
                                                              Priority: $0.00                    Priority: $0.00            unsecured claim
      VICTORIA        Neiman Marcus
 5                                    1145       6/9/2020     General Unsecured: $490,752.40     General Unsecured: $0.00   amount as general
      BECKHAM LTD     Group LTD LLC
                                                                                                                            unsecured claim has
                                                              Total: $490,752.40                 Total: $0.00               been resolved.

                                                              Administrative: $0.00              Administrative: $0.00
                                                              Secured: $0.00                     Secured: $0.00             Expunge general
                                                              Priority: $0.00                    Priority: $0.00            unsecured claim
      VICTORIA        Bergdorf
 6                                    1146       6/9/2020     General Unsecured: $136,219.60     General Unsecured: $0.00   amount as general
      BECKHAM LTD     Goodman Inc.
                                                                                                                            unsecured claim has
                                                              Total: $136,219.60                 Total: $0.00               been resolved.

                                                              Administrative: $0.00              Administrative: $0.00
                                                              Secured: $0.00                     Secured: $0.00             Expunge general
                                                              Priority: $0.00                    Priority: $0.00            unsecured claim
                      Neiman Marcus
 7    VINCE, LLC                      460        5/14/2020    General Unsecured: $1,182,988.74   General Unsecured: $0.00   amount as general
                      Group LTD LLC
                                                                                                                            unsecured claim has
                                                              Total: $1,182,988.74               Total: $0.00               been resolved.

                                                              Administrative: $0.00              Administrative: $0.00
                                                              Secured: $0.00                     Secured: $0.00             Expunge general
                      The Neiman                              Priority: $0.00                    Priority: $0.00            unsecured claim
      ZIMMERMANN
 8                    Marcus Group    134        5/10/2020    General Unsecured: $90,742.11      General Unsecured: $0.00   amount as general
      WEAR PTY LTD
                      LLC                                                                                                   unsecured claim has
                                                              Total: $90,742.11                  Total: $0.00               been resolved.

                                                              Administrative: $0.00              Administrative: $0.00
                                                              Secured: $0.00                     Secured: $0.00             Expunge general
                                                              Priority: $0.00                    Priority: $0.00            unsecured claim
      ZIMMERMANN      Bergdorf
 9                                    605        5/19/2020    General Unsecured: $73,398.13      General Unsecured: $0.00   amount as general
      WEAR PTY LTD    Goodman Inc.
                                                                                                                            unsecured claim has
                                                              Total: $73,398.13                  Total: $0.00               been resolved.




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